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Supercell Oy

                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 SUPERCELL OY,
                                                         CIVIL ACTION NO.
 Plaintiff

 v.

 ANXIZHILANGSHANGMAOYOUXI,           AUREIA,                COMPLAINT
 BAOYIMAOYI,      BHMT    TRADE,    BOPENG,
 BORDERLESSBAZAAR, BRAVE BIRD, ERETHI
 TOYS    CO.,LTD,   FEHIZHIFEN,    FEIYIGOU,             Jury Trial Requested
 FFANTACY,              GECHENGCLOTHING,
 GUANGZHOUGERANSHANGMAOYOUXIANGO                        FILED UNDER SEAL
 NGSI,              GZHH                LLC,
 HONGDONGXIANPINGCHENKEJI, HONGYOHE
 a/k/a                           TKBABEUE,
 HOUXUKAISHANGMAOYOUXIAN,            HYSMT,
 JGTUY, JINZHAOYOUJIU, KDCHAOW, KEVCHE
 CO.,LTD, LIN LEI, LYNDZGS, LYRASUN
 TOYS&DECOR         SHOP,      PLAYLANDIA,
 RIDICULOUS BASTARD, SAVE MONEY 2 U,
 SHENGHU        TRADING       CO.,      LTD,
 WEIWEIGTBBVPPL,      WOEIOI,   XIANSIQING,
 XINGYISHIHUIHUIKEJIYOUXIANGONGSI,
 YINCHUANBAIFUDIANZISHANGWU              a/k/a
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HOLIDAY HAVEN, YSHUAKA, YTTMSHDGA,
YUYXEDC, 玉娥达a/k/a YU'EDA, 王盼888 a/k/a
WANG PAN 888 and 阿震的铺子a/k/a AH ZHEN'S
SHOP,

Defendants
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                                   GLOSSARY

Term                     Definition
Plaintiff or Supercell   Supercell Oy
Oy
Defendants               Anxizhilangshangmaoyouxi ,Aureia, baoyimaoyi, BHMT
                         TRADE, BOPENG, BorderlessBazaar, Brave Bird, ERETHI
                         Toys      Co.,LTD,       FehiZhiFen,      Feiyigou,    Ffantacy,
                         GeChengClothing, guangzhougeranshangmaoyouxiangongsi,
                         GZHH LLC, hongdongxianpingchenkeji, HONGYOHE a/k/a
                         TKBABEUE, houxukaishangmaoyouxian, HYSMT, JGTUY,
                         JINZHAOYOUJIU, kdchaow, KEVCHE Co.,Ltd, Lin Lei,
                         LYNDZGS, Lyrasun Toys&Decor Shop, PlayLandia,
                         Ridiculous Bastard, Save Money 2 U, Shenghu Trading Co.,
                         LTD,        WEIWEIGTBBVPPL,              woeioi,     xiansiqing,
                         xingyishihuihuikejiyouxiangongsi,
                         yinchuanbaifudianzishangwu        A/K/A Holiday Haven,
                         YSHUAka, Yttmshdga, YUYXEdc, 玉娥达 a/k/a Yu'eda, 王
                         盼888 a/k/a Wang Pan 888 and 阿震的铺子 a/k/a Ah Zhen's
                         shop
Amazon                   Amazon.com, a Seattle, Washington-based, online
                         marketplace and e-commerce platform owned by
                         Amazon.com, Inc., a Delaware corporation, that allows
                         manufacturers and other third-party merchants, like
                         Defendants, to advertise, distribute, offer for sale, sell and
                         ship their retail products, which, upon information and belief,
                         primarily originate from China, directly to consumers
                         worldwide and specifically to consumers residing in the U.S.,
                         including New York
Walmart Marketplace      Walmart.com Marketplace, a Bentonville, Arkansas-based,
                         online marketplace and e-commerce platform owned by
                         Walmart Stores, Inc., a Delaware corporation, that allows
                         manufacturers and other third-party merchants, like
                         Defendants, to advertise, distribute, offer for sale, sell and
                         ship their retail products, which, upon information and belief,
                         primarily originate from China, directly to consumers
                         worldwide and specifically to consumers residing in the U.S.,
                         including New York
Epstein Drangel          Epstein Drangel LLP, counsel for Plaintiff
New York Address         244 Madison Ave, Suite 411, New York, New York 10016
Complaint                Plaintiff’s Complaint
Application              Plaintiff’s ex parte Application for: 1) a temporary restraining
                         order; 2) an order restraining Merchant Storefronts (as defined
                         infra) and Defendants’ Assets (as defined infra) with the
                         Financial Institutions (as defined infra); 3) an order to show
                         cause why a preliminary injunction should not issue; 4) an

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                        order authorizing bifurcated and alternative service and 5) an
                        order authorizing expedited discovery
Ignatius Dec.           Declaration of Markku Ignatius in Support of Plaintiff’s
                        Application
Nastasi Dec.            Declaration of Gabriela N. Nastasi in Support of Plaintiff’s
                        Application
Brawl Stars Game        A multiplayer game that allows users to pick characters with
                        special abilities, called “Brawlers,” to battle against other
                        players using a combination of strategy and teamwork
Brawl Stars Products    A variety of products featuring characters from the Brawl Stars
                        Game using and/or sold in connection with the Brawl Stars
                        Marks, including, but not limited to, apparel, keychains,
                        stationery, accessories, backpacks, and plush toys
Brawl Stars Marks       U.S. Trademark Registration Nos.: 5,567,901 for “BRAWL
                        STARS” for a variety of goods in Classes 16, 25 and 28 and
                        6,914,997 for “BRAWL” for a variety of goods in Classes 16,
                        25 and 28
Counterfeit Products    Products bearing or used in connection with the Brawl Stars
                        Marks and/or marks that are confusingly similar to the Brawl
                        Stars Marks, and/or products in packaging and/or with
                        labeling bearing the Brawl Stars Marks and/or marks that are
                        confusingly similar to the Brawl Stars Marks, and/or products
                        that are identical or confusingly similar to the Brawl Stars
                        Products
Infringing Listings     Defendants’ listings for Counterfeit Products
User Accounts           Any and all websites and any and all accounts with online
                        marketplace platforms such as Amazon and/or Walmart
                        Marketplace, as well as any and all as yet undiscovered
                        accounts with additional online marketplace platforms held
                        by or associated with Defendants, their respective officers,
                        employees, agents, servants and all persons in active concert
                        or participation with any of them
Merchant Storefronts    Any and all User Accounts through which Defendants, their
                        respective officers, employees, agents, servants and all
                        persons in active concert or participation with any of them
                        operate storefronts to manufacture, import, export, advertise,
                        market, promote, distribute, display, offer for sale, sell and/or
                        otherwise deal in Counterfeit Products, which are held by or
                        associated with Defendants, their respective officers,
                        employees, agents, servants and all persons in active concert
                        or participation with any of them
Defendants’ Assets      Any and all money, securities or other property or assets of
                        Defendants (whether said assets are located in the U.S. or
                        abroad)
Defendants’ Financial   Any and all financial accounts associated with or utilized by
Accounts                any Defendants or any Defendants’ User Accounts or

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                         Merchant Storefront(s) (whether said account is located in the
                         U.S. or abroad)
Financial Institutions   Amazon.com, Inc., Amazon Payments, Inc. (“Amazon Pay”),
                         PayPal Inc. (“PayPal”), Payoneer Inc. (“Payoneer”) and
                         PingPong Global Solutions, Inc. (“PingPong”)
Third Party Service      Online marketplace platforms, including, without limitation,
Providers                those owned and operated, directly or indirectly, by Amazon
                         and/or Walmart Marketplace, such as Amazon.com and/or
                         Walmart.com, as well as any and all as yet undiscovered
                         online marketplace platforms and/or entities through which
                         Defendants, their respective officers, employees, agents,
                         servants and all persons in active concert or participation with
                         any of them manufacture, import, export, advertise, market,
                         promote, distribute, offer for sale, sell and/or otherwise deal
                         in Counterfeit Products which are hereinafter identified as a
                         result of any order entered in this action, or otherwise




                                         iii
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           Plaintiff, a private limited company organized and existing under the laws of Finland, by

and through its undersigned counsel, alleges as follows: 1

                                          NATURE OF THE ACTION
           1.       This action involves claims for trademark infringement of Plaintiff’s federally

registered trademarks in violation of § 32 of the Federal Trademark (Lanham) Act, 15 U.S.C. §§

1051 et seq.; counterfeiting of Plaintiff’s federally registered trademarks in violation of 15 U.S.C.

§§ 1114(1)(a)-(b), 1116(d); false designation of origin, passing off and unfair competition in

violation of Section 43(a) of the Trademark Act of 1946, as amended (15 U.S.C. §1125(a)); and

related state and common law claims, arising from the infringement of the Brawl Stars Marks,

including, without limitation, by manufacturing, importing, exporting, advertising, marketing,

promoting, distributing, displaying, offering for sale and/or selling unlicensed, counterfeit and

infringing versions of Plaintiff’s Brawl Stars Products by Defendants.

                                         JURISDICTION AND VENUE
           2.       This Court has federal subject matter jurisdiction over the claims asserted in this

Action pursuant to 28 U.S.C. §§ 1331 and 1338(a), as well as pursuant to 15 U.S.C. § 1121 as an

action arising out of violations of the Lanham Act, 15 U.S.C. §§ 1051 et seq.; pursuant to 28

U.S.C. §1338(b) as an action arising out of claims for false designation of origin and unfair

competition and pursuant to 28 U.S.C. § 1332, as there is diversity between the parties and the

matter in controversy exceeds, exclusive of interests and costs, the sum of seventy-five thousand

dollars. This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367(a), as the claims

asserted thereunder are so closely related to the federal claims brought in this action as to form

part of the same case or controversy.



1
    Where a defined term is referenced herein but not defined, it should be understood as it is defined in the Glossary.



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       3.       Personal jurisdiction exists over Defendants in New York pursuant to N.Y.C.P.L.R.

§ 302(a)(1) and N.Y.C.P.L.R. § 302(a)(3), or in the alternative, Federal Rule of Civil Procedure

4(k), because, upon information and belief, Defendants regularly conduct, transact and/or solicit

business in New York, and/or derive substantial revenue from their business transactions in New

York and/or otherwise avail themselves of the privileges and protections of the laws of the State

of New York such that this Court's assertion of jurisdiction over Defendants does not offend

traditional notions of fair play and due process, and/or Defendants’ illegal counterfeiting and

infringing actions caused injury to Plaintiff in New York such that Defendants should reasonably

expect such actions to have consequences in New York, for example:

                   a.   Upon information and belief, Defendants were and/or are systematically

            directing and/or targeting their business activities at consumers in the U.S., including

            New York, through accounts with online marketplace platforms such as Amazon and/or

            Walmart Marketplace, as well as any and all as yet undiscovered User Accounts,

            through which consumers in the U.S., including New York, can view one or more of

            Defendants’ Merchant Storefronts that each Defendant operates, uses to communicate

            with Defendants regarding their listings for Counterfeit Products and to place orders

            for, receive invoices for and purchase Counterfeit Products for delivery in the U.S.,

            including New York, as a means for establishing regular business with the U.S.,

            including New York.

                   b.   Upon information and belief, Defendants are sophisticated sellers, each

            operating one or more commercial businesses through their respective User Accounts,

            using their Merchant Storefronts to manufacture, import, export, advertise, market,

            promote, distribute, offer for sale and/or otherwise deal in products, including the




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            Counterfeit Products at significantly below-market prices to consumers worldwide,

            including to those in the U.S., and specifically New York.

                   c.   Upon information and belief, all Defendants accept payment in U.S. Dollars

            and offer shipping to the U.S., including to New York and specifically to the New York

            Address.

                   d.   Upon information and belief, Defendants have transacted business with

            consumers located in the U.S., including New York, for the sale and shipment of

            Counterfeit Products.

                   e.   Upon information and belief, Defendants are aware of Plaintiff, its Brawl

            Stars Products and Brawl Stars Marks, and are aware that their illegal counterfeiting

            and infringing actions alleged herein are likely to cause injury to Plaintiff in the U.S.

            and specifically, in New York.

            4.   Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391 because, upon information

  and belief, Defendants conduct, transact and/or solicit business in New York.

                                          THE PARTIES
       5.        Plaintiff Supercell Oy is a private limited company organized and existing under the

laws of Finland with an address of Jätkäsaarenlaituri 1, 00180, Helsinki, Finland.

       6.        Upon information and belief, Defendants are merchants on the Amazon and/or

Walmart Marketplace online marketplace platforms, through which Defendants offer for sale

and/or sell Counterfeit Products, with principal places of business at the addresses identified, if

any, in the screenshots of Defendants’ Merchant Storefronts in Exhibit A.

                                    GENERAL ALLEGATIONS
                        Plaintiff and Its Well-Known Brawl Stars Products
       7.        Supercell is a leading global game development company that designs and



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develops engaging multiplayer and social games, including, but not limited to: Brawl Stars, Hay

Day, Clash of Clans, Boom Beach and Clash Royale

        8.       One of Supercell’s most popular games is Brawl Stars, a multiplayer game that

allows users to pick characters with special abilities, called “Brawlers,” to battle against other

players using a combination of strategy and teamwork.

        9.       Released in 2018, Brawl Stars generated 30.8 million downloads during its first

month of release2 and became Supercell’s second highest grossing game across its game portfolio

in 2020, accumulating around $526 million.3

        10.      Additionally, despite the ultra-competitive landscape, in 2020, Supercell remained

“among the top 10 most successful publishers on the iPhone and Android app stores.”4

        11.      Currently, consumers are still downloading Brawl Stars, with 6.48 million downloads

worldwide in December 2024.5

        12.      In addition to developing the Brawl Stars Game, Supercell has created several key

strategic partnerships with numerous licensees (“Authorized Licensees”) as part of its extensive

global licensing program for consumer merchandise, including a variety of products featuring its

characters and using and/or sold in connection with the Brawl Stars Marks, which include innovative

product lines across multiple consumer product categories.

        13.      While Supercell has gained significant common law trademark and other rights in

Brawl Star Products through use, advertising, and promotion, Supercell has also protected its



2
  J. Clement, Number of Brawl Stars app downloads worldwide from December 2018 to December 2024, STATISTA
(Jan. 10, 2025), https://www.statista.com/statistics/1358813/global-brawl-stars-downloads/.
3
   Craig Chappie, Supercell Celebrates Another Unicorn as Brawl Stars Passes $1 Billion, SENORTOWER (Jan. 2021),
https://sensortower.com/blog/brawl-stars-revenue-one-billion.
4
   Tim Bradshaw, Supercell profits slide again despite mobile gaming boom, THE FINANCIAL TIMES (Feb. 16, 2021),
https://www.ft.com/content/aa0c5b43-e2c5-48ea-9fc3-843ef0d053c0.
5
   J. Clement, Number of Brawl Stars app downloads worldwide from December 2018 to December 2024, STATISTA
(Jan. 10, 2025), https://www.statista.com/statistics/1358813/global-brawl-stars-downloads/.


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valuable trademark rights to the Brawl Stars Game and Brawl Stars Products by filing for and

obtaining federal trademark registrations.

       14.     For example, Supercell is the owner of the following U.S. Trademark Registration

Nos.: 5,567,901 for “BRAWL STARS” for a variety of goods in Classes 16, 25 and 28 and

6,914,997 for “BRAWL” for a variety of goods in Classes 16, 25 and 28. True and correct copies

of the registration certificates for the Brawl Stars Marks are attached hereto as Exhibit B and

incorporated herein by reference.

       15.     The Brawl Stars Marks were first used in commerce on or before the dates of first

use as reflected in the registrations attached hereto as Exhibit B.

       16.     Supercell has spent substantial time, money, and effort building up and developing

consumer recognition, awareness and goodwill in its Brawl Star Products and Brawl Stars Marks.

       17.     Supercell’s success is also due to its use of the highest quality materials and

processes in making the Brawl Stars Products.

       18.     Additionally, Supercell owes a substantial amount of the success of the Brawl Stars

Game and Brawl Stars Products to its consumers, and word-of-mouth buzz that its consumers have

generated.

       19.     Supercell’s efforts, the quality of its Brawl Stars Game and Brawl Stars Products,

its marketing, promotion and distribution efforts, and the word-of-mouth buzz generated by its

consumers have caused the Brawl Stars Marks to be prominently placed in the minds of the public.

Members of the public and retailers have become familiar with Supercell’s Brawl Stars Marks,

Brawl Stars Game and Brawl Stars Products and have come to associate them exclusively with

Supercell.

       20.     As a result of such associations, the Brawl Stars Marks have acquired a valuable




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reputation and goodwill among the public.

        21.      Supercell has gone through great lengths to protect its interests in the Brawl Stars

Marks. No one other than Supercell and its Authorized Licensees are authorized to manufacture,

import, export, advertise, offer for sale, or sell any goods utilizing the Brawl Stars Marks.

                Amazon, Walmart Marketplace and Defendants’ User Accounts
        22.      Amazon and Walmart Marketplace are online marketplaces and e-commerce

platforms that allow manufacturers and other third-party merchants, like Defendants, to advertise,

distribute, offer for sale, sell and ship their retail products originating primarily from China, among

other locations, directly to consumers worldwide and specifically to consumers residing in the

U.S., including New York.

        23.      Specifically, Amazon is recognized as one of the leaders of the worldwide e-

commerce and digital retail market and the company’s net sales were $148 billion in the second

quarter of 2024. 6 Sales to the U.S. make up a significant percentage of the business done on

Amazon. 7 As of March 17, 2025, Amazon had a market capital of $2.07 trillion, making it the

fourth most valuable company in the U.S. 8

        24.      Many of the third-party merchants that have User Accounts with and operate

Merchant Storefronts on Amazon, like Defendants, are located in China, who recently accounted

for nearly half of all businesses on Amazon. 9

        25.      In Q1 of 2024, third party merchants generated $34.6 billion, accounting for 61%




6
     Amazon.com       Announces    Second      Quarter      Results,   BUSINESS    WIRE      (Aug.    1,  2024),
https://finance.yahoo.com/news/amazon-com-announces-second-quarter-200100339.html.
7
  See Amazon.com, Inc., Quarterly Results Q2 Earnings (Form 10-Q) (Aug. 1, 2024).
8
  STOCK ANALYSIS (last visited Mar. 17, 2025), https://stockanalysis.com/stocks/amzn/market-cap/.
9
  John Herrman, The Junkification of Amazon Why does it feel like the company is making itself worse?, NEW YORK
MAGAZINE (Jan. 30, 2023), https://nymag.com/intelligencer/2023/01/why-does-it-feel-like-amazon-is-making-itself-
worse.html.


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of Amazon’s sales. 10 In Q2 of 2024, third party merchants generated $36.2 billion, growing

approximately 13% on a year-over-year basis. 11

           26.   Amazon aggressively uses the Internet and television, to market itself and the

products offered for sale and/or sold by its third-party merchant users to potential consumers,

particularly in the U.S. In 2023 alone, Amazon spent $44.4 billion on marketing, up from $42.3

billion the previous year. 12

       27.       As reflected in the federal lawsuits filed against third-party merchants offering for

   sale and selling infringing and/or counterfeit products on Amazon, 13 and as recently addressed

   in news reports, an astronomical number of counterfeit and infringing products are offered for

   sale and sold on Amazon at a rampant rate. 14

           28.   Similarly, many of the third-party merchants that have User Accounts with and

operate Merchant Storefronts on Walmart Marketplace, like Defendants, are located in China. As

of June 2022, Walmart Marketplace had a reported 151,820 sellers, up more than 60% from

2021. 15


10
   Daniela Coppola, Quarterly value of Amazon third-party seller services 2017-2024, STATISTA (May 7, 2024),
https://www.statista.com/statistics/1240236/amazon-third-party-seller-services-
value/#:~:text=Amazon%27s%20net%20sales%20generated%20through%20its%20third-
party%20seller,fees%20and%20other%20services%20related%20to%20third-party%20sellers, Daniela Coppola,
Share of paid units sold by third-party sellers on Amazon platform from 2nd quarter 2007 to 1st quarter 2024,
STATISTA (Jul. 11, 2024), https://www.statista.com/statistics/259782/third-party-seller-share-of-amazon-platform/.
11
   Id.
12
     Daniela Coppola, Worldwide Amazon marketing expenditure 2010-2023, STATISTA (Feb. 8, 2024),
https://www.statista.com/statistics/506535/amazon-marketing-
spending/#:~:text=In%20the%20fiscal%20year%202023%2C%20Amazon%E2%80%99s%20marketing%20spendi
ng,42.3%20billion%20U.S.%20dollars%20in%20the%20previous%20year.
13
    See, e.g., Apple Inc. v. Mobile Star LLC, No. C17-1120 RAJ (W.D. Cal. Aug. 4, 2017) and Daimler AG v.
Amazon.com, Inc., 16-cv-00518-RSM (W.D. Wash. Mar. 11, 2019).
14
   Brittney Myers, Some Shoppers Are Fleeing Amazon Because of Counterfeit Goods, THE ASCENT (Jan. 17, 2023),
https://www.fool.com/the-ascent/personal-finance/articles/some-shoppers-are-fleeing-amazon-because-of-
counterfeit-goods/; see Brendan Case, Amazon, Third-Party Sellers Spur Fake Goods, Group Says, BLOOMBERG (Oct.
13, 2021), https://www.bloomberg.com/news/articles/2021-10-13/amazon-third-party-sellers-spur-counterfeit-boom-
group-says#xj4y7vzkg.
15
   See Kim Souza, The Supply Side: Walmart Marketplace aims to attract more third-party sellers, TALK BUSINESS
(Sept. 16, 2023), https://talkbusiness.net/2023/09/the-supply-side-walmart-marketplace-aims-to-attract-more-third-
party-sellers/.


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        29.      In early 2021, Walmart Marketplace started to attract non-U.S. merchants to sell

products on its e-commerce marketplace. 16

        30.      Walmart Marketplace has recently expanded its efforts to onboard new Chinese

sellers with its release of a Seller Central dashboard interface in Chinese in February 2024 and its

holding of a seller summit in Shenzhen, China in March 2024. 17 In April 2024, Chinese sellers

represented 73.8% of all new sellers on Walmart Marketplace. 18

        31.      As reflected in the federal lawsuits filed against third-party merchants offering for

sale and selling infringing and/or counterfeit products on Amazon, and as recently addressed in

news reports, an astronomical number of counterfeit and infringing products are offered for sale

and sold on Amazon and Walmart Marketplace at a rampant rate. 19

        32.      Defendants are individuals and/or businesses, who, upon information and belief,

are located in China but conduct business in the U.S. and other countries by means of their User

Accounts and on their Merchant Storefronts on Amazon and/or Walmart Marketplace as well as

potentially yet undiscovered additional online marketplace platforms.

        33.      Through their Merchant Storefronts, Defendants offer for sale and/or sell consumer

products, including Counterfeit Products, and target and ship such products to customers located

in the U.S., including New York, and throughout the world.


16
   Id.
17
   See Cyrus Farivar, Walmart Is Finally Capitalizing on Amazon and Temu’s China Playbook, FORBES (Jun. 26,
2024), https://www.forbes.com/sites/cyrusfarivar/2024/06/26/walmart-is-finally-capitalizing-on-amazon-and-temus-
china-playbook/.
18
   Id.
19
   See Bo Erickson, Popular goods sold through Amazon, Walmart and others are counterfeits: Government report,
CBS NEWS (Feb. 26, 2018), https://www.cbsnews.com/news/amazon-walmart-newegg-third-party-sellers-sell-
counterfeits-report-gao/; see Kali Coleman, There's an Urgent New Warning for Walmart and Amazon Shoppers,
Experts Say That Walmart and Amazon Shoppers May Be at Risk of Buying Counterfeit Items, YAHOO! LIFE (Dec. 17,
2021),                                   https://www.yahoo.com/lifestyle/theres-urgent-warning-walmart-amazon-
213820337.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referrer_sig=AQ
AAAJz5iddTqBfqAeScux7woYr04sXjjpXcyr76uzMNLVJq0doJEDsbjYhhU2cdgzqBETvMmWtDSmEiISEORZvr
0XY8qu3kuqov5tpHecz2sNErE6X0oprVTR14_7uEGpNL91UIuNPajklpf5ZEfBoWE_pVDVSsBWHcsG_U36bU8
a.


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        34.     Defendants’ Merchant Storefronts share unique identifiers, such as design elements

along with similarities in price, description of the goods offered and of the Counterfeit Products

themselves offered for sale.

        35.     Defendants are in constant communication with each other and regularly

participate in online chatroom discussions involving illegal counterfeiting activities, pending

litigation and potential new lawsuits.

                         Defendants’ Wrongful and Infringing Conduct
        36.     Particularly in light of Plaintiff’s success with its Brawl Stars Game and Brawl

Stars Products, as well as the reputation they have gained, Plaintiff and its Brawl Stars Products

have become targets for unscrupulous individuals and entities who wish to capitalize on the

goodwill, reputation and fame that Plaintiff has amassed in its Brawl Stars Game, Brawl Stars

Products and Brawl Stars Marks and Plaintiff investigates and enforces against such activities.

        37.     Through Epstein Drangel’s investigative and enforcement efforts, Plaintiff learned

of Defendants’ actions which vary and include, but are not limited to: manufacturing, importing,

exporting, advertising, marketing, promoting, distributing, displaying, offering for sale and/or

selling Counterfeit Products to U.S. consumers, including those located in the state of New York,

through Defendants’ User Accounts and Merchant Storefronts. Screenshots of Infringing Listings

from Defendants’ User Accounts and Merchant Storefronts are included in Exhibit A attached

hereto and incorporated herein by reference.

        38.     Defendants are not, and have never been, authorized by Plaintiff or any of its

authorized agents, authorized licensees or authorized distributors to copy, manufacture, import,

export, advertise, distribute, offer for sale or sell the Brawl Stars Products or to use the Brawl Stars

Marks, or any marks that are confusingly similar to the Brawl Stars Marks.

        39.     Defendants’ Counterfeit Products are nearly indistinguishable from Plaintiff’s


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Brawl Stars Products, only with minor variations that no ordinary consumer would recognize.

       40.     During its investigation, Epstein Drangel identified Defendants as offering for sale

and/or selling Counterfeit Products and specified a shipping address located at the New York

Address and verified that each Defendant provides shipping to the New York Address.

Screenshots of the checkout pages for the Counterfeit Products and pages from Defendants’

Merchant Storefronts reflecting that the Defendants ship the Counterfeit Products to the New York

Address are included in Exhibit A.

       41.     Epstein Drangel confirmed that each Defendant is still currently offering for sale

and/or selling Counterfeit Products through their respective User Accounts and/or Merchant

Storefronts, accepting payment for such Counterfeit Products in U.S. Dollars and that each

Defendant provides shipping and/or has actually shipped Counterfeit Products to the U.S.,

including to customers located in New York. Plaintiff’s findings are supported by Defendants’

Infringing Listings and/or the checkout pages for Counterfeit Products, which are included in

Exhibit A.

       42.     For example, below is a listing for Defendant woeioi’s Counterfeit Product

(“woeioi Infringing Listing” and “woeioi Counterfeit Product,” respectively). The woeioi

Infringing     Listing    appears      on     Defendant      woeioi’s      Merchant      Storefront,

https://www.walmart.com/global/seller/101662936, and offers the woeioi Counterfeit Product for

$6.84 per item, using, featuring and/or incorporating one or more of the Brawl Stars Marks and/or

confusingly similar marks in the descriptions and/or product images in the body of the listing title:

“HeaDream 50PCS Brawl Stars Series Stickers, Cartoon Style Laptop Stickers Waterproof

Luggage Decal, Great Choice Birthday Gifts for Anime Fans” (emphasis added). Further, the

woeioi Counterfeit Product is virtually identical to characters and images featured in the Brawl




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Stars Game. There is no question that the woeioi Counterfeit Product is designed to confuse and

mislead consumers into believing that they are purchasing one of Plaintiff’s Brawl Stars Products

or that the woeioi Counterfeit Product is otherwise approved by or sourced from Plaintiff, thereby

trading off of the goodwill and reputation of Plaintiff by engaging in the unauthorized use of the

Brawl Stars Marks:

          Image from Brawl Stars Game                          Defendant’s Counterfeit Product




       43.     By     way     of     another      example,       below       is     a        listing   for

xingyishihuihuikejiyouxiangongsi’s Counterfeit Product (“xingyishihuihuikejiyouxiangongsi

Infringing Listing” and “xingyishihuihuikejiyouxiangongsi Counterfeit Product,” respectively).

The    xingyishihuihuikejiyouxiangongsi        Infringing     Listing     appears       on      Defendant

xingyishihuihuikejiyouxiangongsi’s                          Merchant                           Storefront,

https://www.amazon.com/s?me=AZGWZQOJ0KW0F,                          and             offers             the

xingyishihuihuikejiyouxiangongsi Counterfeit Product for $18.99 per item, using, featuring and/or

incorporating one or more of the Brawl Stars Marks and/or confusingly similar marks in the

descriptions and/or product images in the body of the listing title: “Brawll Merch Stars Birthday

Decorations Spike Game Theme Party Supplies including Cake Topper Nammer Cupcake

Toppers Balloons” (emphasis added). Further, the xingyishihuihuikejiyouxiangongsi Counterfeit


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Product is virtually identical to characters and images featured in the Brawl Stars Game. There is

no question that the xingyishihuihuikejiyouxiangongsi Counterfeit Product is designed to confuse

and mislead consumers into believing that they are purchasing one of Plaintiff’s Brawl Stars

Products or that the xingyishihuihuikejiyouxiangongsi Counterfeit Product is otherwise approved

by or sourced from Plaintiff, thereby trading off of the goodwill and reputation of Plaintiff by

engaging in the unauthorized use of the Brawl Stars Marks:

          Image from Brawl Stars Game                      Defendant’s Counterfeit Product




       44.     As another example, below is a listing for Defendant YSHUAka Counterfeit

Product (“YSHUAka Infringing Listing” and “YSHUAka Counterfeit Product,” respectively).

The YSHUAka Infringing Listing appears on Defendant YSHUAka Merchant Storefront,

https://www.walmart.com/global/seller/102482082, and offers the YSHUAka Counterfeit Product

for $16.09 per item, using, featuring and/or incorporating one or more of the Brawl Stars Marks

and/or confusingly similar marks in the descriptions and/or product images in the body of the

listing title “Brawl Stars Spike Doll Colt, Plush Buddies 7 Inch Tall Collectibles Plush Toy Doll

| Crow Plush| Licensed Toy Plush, On Sale Clearance!” (emphasis added). Further, the YSHUAka

Counterfeit Product is virtually identical to characters and images featured in the Brawl Stars

Game. There is no question that YSHUAka Counterfeit Product is designed to confuse and mislead


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consumers into believing that they are purchasing one of Plaintiff’s Brawl Stars Products or that

the YSHUAka Counterfeit Product is otherwise approved by or sourced from Plaintiff, thereby

trading off of the goodwill and reputation of Plaintiff by engaging in the unauthorized use of the

Brawl Stars Marks:

     Image from Brawl Stars Game                           Defendant’s Counterfeit Product




       45.     By these dealings in Counterfeit Products (including, without limitation, copying,

manufacturing, importing, exporting, advertising, marketing, promoting, distributing, displaying,

offering for sale and/or selling Counterfeit Products), Defendants violated Plaintiff’s exclusive

rights in the Brawl Stars Marks, and have used marks that are confusingly similar to, identical to

and/or constitute counterfeiting and/or infringement of the Brawl Stars Marks in order to confuse

consumers into believing that such Counterfeit Products are the Brawl Stars Products and aid in

the promotion and sales of their Counterfeit Products. Defendants’ conduct began long after

Plaintiff’s adoption and use of the Brawl Stars Marks, after Plaintiff obtained federal registrations

in the Brawl Stars Marks, as alleged above, and after Plaintiff’s Brawl Stars Products and the

Brawl Stars Marks became well-known to the purchasing public.

       46.     Prior to and contemporaneous with their counterfeiting and infringing actions

alleged herein, Defendants had knowledge of Plaintiff’s ownership of the Brawl Stars Marks, of



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the fame and incalculable goodwill associated therewith and of the popularity and success of the

Brawl Stars Products, and in bad faith adopted the Brawl Stars Marks.

       47.     Defendants have been engaging in the illegal counterfeiting and infringing actions,

as alleged herein, knowingly and intentionally, or with reckless disregard or willful blindness to

Plaintiff’s rights, or in bad faith, for the purpose of trading on the goodwill and reputation of

Plaintiff, its Brawl Stars Marks and Brawl Stars Products.

       48.     Defendants’ dealings in Counterfeit Products, as alleged herein, has caused, and

will continue to cause confusion, mistake, economic loss, and has, and will continue to deceive

consumers, the public and the trade with respect to the source or origin of Defendants’ Counterfeit

Products, thereby causing consumers to erroneously believe that such Counterfeit Products are

licensed by or otherwise associated with Plaintiff, thereby damaging Plaintiff.

       49.     By engaging in these actions, Defendants have, jointly and severally, among other

things, willfully and in bad faith committed the following, all of which have and will continue to

cause irreparable harm to Plaintiff: infringed and counterfeited the Brawl Stars Marks, committed

unfair competition and unfairly and unjustly profited from such activities at Plaintiff’s expense.

       50.     Unless enjoined, Defendants will continue to cause irreparable harm to Plaintiff.

                                      CAUSES OF ACTION
                                  FIRST CAUSE OF ACTION
                                  (Trademark Counterfeiting)
[15 U.S.C. § 1114(1)(b)/Lanham Act § 32; 15 U.S.C. § 1116(d)/Lanham Act § 34; 15 U.S.C.
                            § 1117(b)-(c)/Lanham Act § 35]
       51.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       52.     Plaintiff is the exclusive owner of all rights and title to the Brawl Stars Marks.

       53.     Plaintiff has continuously used the Brawl Stars Marks in interstate commerce since



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on or before the dates of first use as reflected in the registration certificates attached hereto as

Exhibit B.

        54.     Without Plaintiff’s authorization or consent, with knowledge of Plaintiff’s well-

known and prior rights in its Brawl Stars Marks and with knowledge that Defendants’ Counterfeit

Products bear counterfeit marks, Defendants intentionally reproduced, copied and/or colorably

imitated the Brawl Stars Marks and/or used spurious designations that are identical with, or

indistinguishable from, the Brawl Stars Marks on or in connection with the manufacturing, import,

export, advertising, marketing, promotion, distribution, display, offering for sale and/or sale of

Counterfeit Products.

        55.     Defendants have manufactured, imported, exported, advertised, marketed,

promoted, distributed, displayed, offered for sale and/or sold their Counterfeit Products to the

purchasing public in direct competition with Plaintiff, in or affecting interstate commerce, and/or

have acted with reckless disregard of Plaintiff’s rights in and to the Brawl Stars Marks through

their participation in such activities.

        56.     Defendants have applied their reproductions, counterfeits, copies and colorable

imitations of the Brawl Stars Marks to packaging, point-of-purchase materials, promotions and/or

advertisements intended to be used in commerce upon, or in connection with the manufacturing,

importing, exporting, advertising, marketing, promoting, distributing, displaying, offering for sale

and/or selling of Defendants’ Counterfeit Products, which is likely to cause confusion, mistake,

and deception among the general purchasing public as to the origin of the Counterfeit Products,

and is likely to deceive consumers, the public and the trade into believing that the Counterfeit

Products sold by Defendants originate from, are associated with or are otherwise authorized by

Plaintiff, thereby making substantial profits and gains to which they are not entitled in law or




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equity.

          57.   Defendants’ unauthorized use of the Brawl Stars Marks on or in connection with

the Counterfeit Products was done with notice and full knowledge that such use was not authorized

or licensed by Plaintiff or its authorized agents and with deliberate intent to unfairly benefit from

the incalculable goodwill inherent in the Brawl Stars Marks.

          58.   Defendants’ actions constitute willful counterfeiting of the Brawl Stars Marks in

violation of 15 U.S.C. §§ 1114(1)(a)-(b), 1116(d) and 1117(b)-(c).

          59.   As a direct and proximate result of Defendants’ illegal actions alleged herein,

Defendants have caused substantial monetary loss and irreparable injury and damage to Plaintiff,

its business, its reputation and its valuable rights in and to its Brawl Stars Marks and the goodwill

associated therewith, in an amount as yet unknown, but to be determined at trial, for which Plaintiff

has no adequate remedy at law, and unless immediately enjoined, Defendants will continue to

cause such substantial and irreparable injury, loss and damage to Plaintiff and its valuable Brawl

Stars Marks.

          60.   Based on Defendants’ actions as alleged herein, Plaintiff is entitled to injunctive

relief, damages for the irreparable harm that Plaintiff has sustained, and will sustain, as a result of

Defendants’ unlawful and infringing actions, as alleged herein, and all gains, profits and

advantages obtained by Defendants as a result thereof, enhanced discretionary damages, treble

damages and/or statutory damages of up to $2,000,000 per counterfeit mark per type of goods

sold, offered for sale or distributed and reasonable attorneys’ fees and costs.

                                 SECOND CAUSE OF ACTION
                            (Infringement of Registered Trademarks)
                             [15 U.S.C. § 1114/Lanham Act § 32(a)]
          61.   Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.


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       62.     Plaintiff has continuously used its Brawl Stars Marks in interstate commerce since

on or before the dates of first use as reflected in the registration certificates attached hereto as

Exhibit B.

       63.     Plaintiff, as owner of all rights, title and interest in and to the Brawl Stars Marks,

has standing to maintain an action for trademark infringement under 15 U.S.C. § 1114.

       64.     Defendants were, at the time they engaged in their actions as alleged herein,

actually aware that Plaintiff is the owner of the federal trademark registration for Brawl

Stars Marks.

       65.     Defendants did not seek and thus inherently failed to obtain consent or

authorization from Plaintiff, as the registered trademark owner of the Brawl Stars Marks, to deal

in and commercially manufacture, import, export, advertise, market, promote, distribute, display,

retail, offer for sale and/or sell the Brawl Stars Products and/or related products bearing the Brawl

Stars Marks into the stream of commerce.

       66.     Defendants knowingly and intentionally manufactured, imported, exported,

advertised, marketed, promoted, distributed, displayed, offered for sale and/or sold Counterfeit

Products, bearing and/or utilizing marks that are reproductions, counterfeits, copies and/or

colorable imitations of the Brawl Stars Marks and/or which are identical or confusingly similar to

the Brawl Stars Marks.

       67.     Defendants knowingly and intentionally reproduced, copied and colorably imitated

the Brawl Stars Marks and applied such reproductions, copies or colorable imitations to

packaging, wrappers, receptacles, online listings and/or advertisements used in commerce upon,

or in connection with the manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale and/or sale of Defendants’ Counterfeit Products.




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       68.     Defendants were, at the time they engaged in their illegal and infringing actions as

alleged herein, actually aware that Plaintiff is the owner of all rights in and to the Brawl

Stars Marks.

       69.     Defendants’ egregious and intentional use of the Brawl Stars Marks in commerce

on or in connection with Defendants’ Counterfeit Products has caused, and is likely to continue to

cause, actual confusion and mistake, and has deceived, and is likely to continue to deceive, the

general purchasing public as to the source or origin of the Counterfeit Products, and is likely to

deceive the public into believing that Defendants’ Counterfeit Products are Plaintiff’s Brawl

Stars Products or are otherwise associated with, or authorized by, Plaintiff.

       70.     Defendants’ actions have been deliberate and committed with knowledge of

Plaintiff’s rights and goodwill in the Brawl Stars Marks, as well as with bad faith and the intent to

cause confusion, mistake and deception.

       71.     Defendants’ continued, knowing, and intentional use of the Brawl Stars Marks

without Plaintiff’s consent or authorization constitutes intentional infringement of Plaintiff’s

federally registered Brawl Stars Marks in violation of §32 of the Lanham Act, 15 U.S.C. § 1114.

       72.     As a direct and proximate result of Defendants’ illegal and infringing actions as

alleged herein, Plaintiff has suffered substantial monetary loss and irreparable injury, loss and

damage to its business and its valuable rights in and to the Brawl Stars Marks and the goodwill

associated therewith in an amount as yet unknown, but to be determined at trial, for which Plaintiff

has no adequate remedy at law, and unless immediately enjoined, Defendants will continue to

cause such substantial and irreparable injury, loss and damage to Plaintiff and the valuable Brawl

Stars Marks.

       73.     Based on Defendants’ actions as alleged herein, Plaintiff is entitled to injunctive




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relief, damages for the irreparable harm that Plaintiff has sustained, and will sustain, as a result

of Defendants’ unlawful and infringing actions as alleged herein, and all gains, profits and

advantages obtained by Defendants as a result thereof, enhanced discretionary damages, as well

as other remedies provided by 15 U.S.C. §§ 1116, 1117, and 1118, and reasonable attorneys’

fees and costs.

                                THIRD CAUSE OF ACTION
               (False Designation of Origin, Passing Off & Unfair Competition)
                              [15 U.S.C. § 1125(a)/Lanham Act § 43(a)]
       74.        Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       75.        Plaintiff, as the owner of all right, title and interest in and to the Brawl Stars Marks,

has standing to maintain an action for false designation of origin and unfair competition under the

Federal Trademark Statute, Lanham Act § 43(a) (15 U.S.C. § 1125).

       76.        The Brawl Stars Marks are inherently distinctive and/or have acquired

distinctiveness.

       77.        Defendants knowingly and willfully used in commerce products and/or packaging

designs that are identical or confusingly similar to, and constitute reproductions of the Brawl Stars

Marks and affixed, applied and used false designations of origin and false and misleading

descriptions and representations on or in connection with the manufacturing, importing, exporting,

advertising, marketing, promoting, distributing, displaying, offering for sale and/or sale of

Counterfeit Products with the intent to cause confusion, to cause mistake and to deceive the

purchasing public into believing, in error, that Defendants’ substandard Counterfeit Products are

the Brawl Stars Products or related products, and/or that Defendants’ Counterfeit Products are

authorized, sponsored, approved, endorsed or licensed by Plaintiff and/or that Defendants are

affiliated, connected or associated with Plaintiff, thereby creating a likelihood of confusion by


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consumers as to the source of such Counterfeit Products, and allowing Defendants to capitalize on

the goodwill associated with, and the consumer recognition of, the Brawl Stars Marks, to

Defendants’ substantial profit in blatant disregard of Plaintiff’s rights.

       78.     By manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale, selling and/or otherwise dealing in the Counterfeit

Products that are identical to, confusingly similar to or which constitute colorable imitations of

Plaintiff’s Brawl Stars Products using marks that are identical and/or confusingly similar to, or

which constitute colorable imitations of the Brawl Stars Marks, Defendants have traded off the

extensive goodwill of Plaintiff and its Brawl Stars Products and did in fact induce, and intend to,

and will continue to induce customers to purchase Defendants’ Counterfeit Products, thereby

directly and unfairly competing with Plaintiff. Such conduct has permitted and will continue to

permit Defendants to make substantial sales and profits based on the goodwill and reputation of

Plaintiff and its Brawl Stars Marks, which Plaintiff has amassed through its nationwide marketing,

advertising, sales and consumer recognition.

       79.     Defendants knew, or by the exercise of reasonable care should have known, that

their adoption and commencement of and continuing use in commerce of marks that are identical

or confusingly similar to and constitute reproductions of the Brawl Stars Marks would cause

confusion, mistake or deception among purchasers, users and the public.

       80.     Upon information and belief, Defendants’ aforementioned wrongful actions have

been knowing, deliberate, willful, intended to cause confusion, to cause mistake and to deceive

the purchasing public and with the intent to trade on the goodwill and reputation of Plaintiff’s

Brawl Stars Products and Brawl Stars Marks.

       81.     As a direct and proximate result of Defendants’ aforementioned actions,




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Defendants have caused irreparable injury to Plaintiff by depriving Plaintiff of sales of its Brawl

Stars Products and by depriving Plaintiff of the value of its Brawl Stars Marks as commercial

assets in an amount as yet unknown, but to be determined at trial, for which it has no adequate

remedy at law, and unless immediately restrained, Defendants will continue to cause substantial

and irreparable injury to Plaintiff and the goodwill and reputation associated with the value of the

Brawl Stars Marks.

       82.     Based on Defendants’ wrongful conduct, Plaintiff is entitled to injunctive relief as

well as monetary damages and other remedies as provided by the Lanham Act, including damages

that Plaintiff has sustained and will sustain as a result of Defendants’ illegal and infringing actions

as alleged herein, and all gains, profits and advantages obtained by Defendants as a result thereof,

enhanced discretionary damages and reasonable attorneys' fees and costs.

                                 FOURTH CAUSE OF ACTION
                                     (Unfair Competition)
                                    [New York Common Law]
       83.     Plaintiff repleads and incorporates by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       84.     By manufacturing, importing, exporting, advertising, marketing, promoting,

distributing, displaying, offering for sale, selling and/or otherwise dealing in the Counterfeit

Products, Defendants have traded off the extensive goodwill of Plaintiff and its Brawl

Stars Products to induce, and did induce and intend and will continue to induce, customers to

purchase their Counterfeit Products, thereby directly competing with Plaintiff. Such conduct has

permitted and will continue to permit Defendants to make substantial sales and profits based on

the goodwill and reputation of Plaintiff, which Plaintiff has amassed through its nationwide

marketing, advertising, sales and consumer recognition.

       85.     Defendants’ advertising, marketing, promoting, distributing, displaying, offering


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for sale, selling and/or otherwise dealing in the Counterfeit Products was and is in violation and

derogation of Plaintiff’s rights and is likely to cause confusion and mistake, and to deceive

consumers and the public as to the source, origin, sponsorship or quality of Defendants’

Counterfeit Products.

          86.   Defendants knew, or by the exercise of reasonable care should have known, that

their advertising, marketing, promoting, distributing, displaying, offering for sale, selling and/or

otherwise dealing in the Counterfeit Products and their continuing advertising, marketing,

promoting, distributing, displaying, offering for sale, selling and/or otherwise dealing in the

Counterfeit Products would cause confusion and mistake, or deceive purchasers, users and the

public.

          87.   Upon information and belief, Defendants’ aforementioned wrongful actions have

been knowing, deliberate, willful, intended to cause confusion and mistake, and to deceive, in

blatant disregard of Plaintiff’s rights, and for the wrongful purpose of injuring Plaintiff, and its

competitive position while benefiting Defendants.

          88.   As a direct and proximate result of Defendants’ aforementioned wrongful actions,

Plaintiff has been and will continue to be deprived of substantial sales of its Brawl Stars Products

in an amount as yet unknown but to be determined at trial, for which Plaintiff has no adequate

remedy at law, and Plaintiff has been and will continue to be deprived of the value of its Brawl

Stars Marks as commercial assets in an amount as yet unknown but to be determined at trial, for

which Plaintiff has no adequate remedy at law.

          89.   As a result of Defendants’ actions alleged herein, Plaintiff is entitled to injunctive

relief, an order granting Plaintiff’s damages and Defendants’ profits stemming from their

infringing activities, and exemplary or punitive damages for Defendants’ intentional misconduct.




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                             PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for judgment against Defendants, inclusive, and each of

them, as follows:

         A.   For an award of Defendants’ profits and Plaintiff’s damages pursuant to 15 U.S.C.

         § 1117(a), enhanced discretionary damages under 15 U.S.C. § 1117(a) and treble

         damages in the amount of a sum equal to three (3) times such profits or damages,

         whichever is greater, pursuant to 15 U.S.C. § 1117(b) for willfully and intentionally

         using a mark or designation, knowing such mark or designation is a counterfeit mark in

         violation of 15 U.S.C. § 1114(1)(a);

         B.   In the alternative to Defendants’ profits and Plaintiff’s actual damages, enhanced

         discretionary damages and treble damages for willful use of a counterfeit mark in

         connection with the sale, offering for sale or distribution of goods or services, for

         statutory damages pursuant to 15 U.S.C. § 1117(c) in the amount of not more

         than $2,000,000 per counterfeit mark per type of goods or services sold, offered for sale

         or distributed, as the Court considers just, which Plaintiff may elect prior to the

         rendering of final judgment;

         C.   For an award of Defendants’ profits and Plaintiff’s damages in an amount to be

         proven at trial for willful trademark infringement of Plaintiff’s federally registered

         Brawl Stars Marks, and such other compensatory damages as the Court determines to

         be fair and appropriate pursuant to 15 U.S.C. § 1117(a);

         D.   For an award of Defendants’ profits and Plaintiff’s damages pursuant to 15 U.S.C.

         § 1117(a) in an amount to be proven at trial and such other compensatory damages as

         the Court determines to be fair and appropriate pursuant to 15 U.S.C. § 1117(a) for false

         designation of origin and unfair competition under 15 U.S.C. §1125(a);



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  E.   For an award of damages to be proven at trial for common law unfair competition;

  F.   For a preliminary and permanent injunction by this Court enjoining and prohibiting

  Defendants, or their agents, and any employees, agents, servants, officers,

  representatives, directors, attorneys, successors, affiliates, assigns and entities owned or

  controlled by Defendants, and all those in active concert or participation with

  Defendants, and each of them who receives notice directly or otherwise of such

  injunction from:

              i. manufacturing, importing, exporting, advertising, marketing, promoting,

                  distributing, displaying, offering for sale, selling and/or otherwise

                  dealing in the Counterfeit Products;

             ii. directly or indirectly infringing in any manner Plaintiff’s Brawl

                  Stars Marks;

             iii. using any reproduction, counterfeit, copy or colorable imitation of

                  Plaintiff’s Brawl Stars Marks to identify any goods or services not

                  authorized by Plaintiff;

             iv. using Plaintiff’s Brawl Stars Marks or any other marks that are

                  confusingly similar to the Brawl Stars Marks, on or in connection with

                  Defendants’     manufacturing,     importing,     exporting,   advertising,

                  marketing, promoting, distributing, displaying, offering for sale, selling

                  and/or otherwise dealing in the Counterfeit Products;

             v.   using any false designation of origin or false description, or engaging in

                  any action which is likely to cause confusion, cause mistake and/or to

                  deceive members of the trade and/or the public as to the affiliation,




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                connection or association of any product manufactured, imported,

                exported, advertised, marketed, promoted, distributed, displayed, offered

                for sale or sold by Defendants with Plaintiff, and/or as to the origin,

                sponsorship or approval of any product manufactured, imported,

                exported, advertised, marketed, promoted, distributed, displayed, offered

                for sale or sold by Defendants and Defendants’ commercial activities by

                Plaintiff;

           vi. engaging in the unlawful, unfair or fraudulent business acts or practices,

                including, without limitation, the actions described herein, including the

                of advertising and/or dealing in any Counterfeit Products;

          vii. engaging in any other actions that constitute unfair competition with

                Plaintiff;

          viii. engaging in any other act in derogation of Plaintiff’s rights;

            ix. from secreting, concealing, destroying, altering, selling off, transferring

                or otherwise disposing of and/or dealing with: (i) Counterfeit Products;

                (ii) any computer files, data, business records, documents or any other

                records or evidence relating to Defendants’ User Accounts or Merchant

                Storefronts, Defendants’ Assets from or to Defendants’ Financial

                Accounts and the manufacture, importation, exportation, advertising,

                marketing, promotion, distribution, display, offering for sale and/or sale

                of Counterfeit Products;

           x.   from secreting, concealing, transferring, disposing of, withdrawing,

                encumbering or paying any of Defendants’ Assets from or Defendants’




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                  Financial Accounts until further ordered by this Court;

            xi.   effecting assignments or transfers, forming new entities or associations,

                  or utilizing any other device for the purpose of circumventing or

                  otherwise avoiding the prohibitions set forth in any final judgment or

                  order in this action;

           xii.   providing services to Defendants, Defendants’ User Accounts and

                  Defendants’ Merchant Storefronts, including, without limitation,

                  continued operation of Defendants’ User Accounts and Merchant

                  Storefronts; and

           xiii. instructing any other person or entity to engage or perform any of the

                  activities referred to in subparagraphs (i) through (xii) above; and

  G.   For an order of the Court requiring that Defendants recall from any distributors and

  retailers and deliver up to Plaintiff for destruction any and all Counterfeit Products and

  any and all packaging, labels, tags, advertising and promotional materials and any other

  materials in the possession, custody or control of such distributors and retailers that

  infringe Plaintiff’s Brawl Stars Marks, or bear any marks that are confusingly similar to

  the Brawl Stars Marks;

  H.   For an order of the Court requiring that Defendants deliver up for destruction to

  Plaintiff any and all Counterfeit Products and any and all packaging, labels, tags,

  advertising and promotional materials and any other materials in the possession, custody

  or control of Defendants that infringe Plaintiff’s Brawl Stars Marks, or bear any marks

  that are confusingly similar to the Brawl Stars Marks pursuant to 15 U.S.C. § 1118;

  I.   For an order from the Court requiring that Defendants provide complete




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         accountings for any and all monies, profits, gains and advantages derived by Defendants

         from their manufacturing, importing, exporting, advertising, marketing, promoting,

         distributing, displaying, offering for sale, sale and/or otherwise dealing in the

         Counterfeit Products as described herein, including prejudgment interest;

         J.   For an order from the Court that an asset freeze or constructive trust be imposed

         over any and all monies, profits, gains and advantages in Defendants’ possession which

         rightfully belong to Plaintiff;

         K.   For an award of exemplary or punitive damages in an amount to be determined by

         the Court;

         L.   For Plaintiff’s reasonable attorneys’ fees;

         M. For all costs of suit; and

         N.   For such other and further relief as the Court may deem just and equitable.

                                DEMAND FOR JURY TRIAL
         Plaintiff respectfully demands a trial by jury on all claims.


Dated: March 20, 2025                                  Respectfully submitted,

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